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11                             UNITED STATES DISTRICT COURT

12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  No. SA 18-257M

14                    Plaintiff,                [          ORDER DISMISSING THE
                                                COMPLAINT WITHOUT PREJUDICE
15                    v.

16   ( STEPHEN WILLIAM BEAL,

17                    Defendant.

18

19         Having considered the government's motion to dismiss the

20   complaint, the Court hereby dismisses the complaint against STEPHEN

21   WILLIAM BEAL without prejudice.         The defendant is ordered released

22   forthwith.

23     IT IS SO ORDERED.

24

25     DATE
           s/a~f~g                              THE  ONO BLE KA EN E. SCOTT
                                                UNITED STATES MAGISTRATE JUDGE
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